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                                  UNITED STATES DISTRICT COURT
                                                      for the
                                  EASTERN DISTRICT OF VIRGINIA


U.S.A. vs. ShaneLUCAS                                                         DocketNo. l:18-MJ-390

                               Petition for Action on Conditions of Pretrial Release

              COMES NOW, U.S. PROBATION OFFICER NICOLE R. ANDREWS, presenting an official
report upon the conduct of defendant Shane LUCAS,who was continued under pretrial release supervision by
YOUR HONOR,sitting in the court at Alexandria, VA,on August 15,2018, under the following conditions:

^Report to Pretrial Services as directed; ^Submit to drag testing, and testing may be used with random frequency
and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing; *Reside at approved residence and not move from that residence without
prior approval of the Court or Pretrial Service; *Not possess a firearm, destructive device or other dangerous
weapon;and *Travel restricted to the Washington D.C. metropolitan area without prior approval.

RESPECTFULLY PRESENTING PETtnON FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

On August 21,2018,the defendant submitted a urine specimen which screened positive for marijuana,cocaine, opiates and
oxycodone. Confirmation for this result is pending. The defendant admitted to using marijuana and denied using cocaine
or taking any pain medication since before his arrest on August 14,2018.

PRAYING THAT THE COURT WILL issue a SUMMONS and the defendant return to court and sho^ cause
why his conditions ofrelease should not be revoked.

RETURNABLE DATE



ORDER OF COURT                                                I declare under the penalty of peijury that the
                                                              foregoing is true and correct.
Considered and ordered this      day of        ,
20      and ordered filed and made a part of the              Executed on: A
records in the above case.

                         /s/           tdV
                                                                 iMs) Nicol^. Andrews
         Michael S. Nachmanoff                                               U.S. Probation Officer
         United States Magistrate Judge
                Michael S, Nachmanoff
               U.S. Magistrate Judge
